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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

  GRACE DE PAZ,

                              Plaintiff,

  -vs-                                              Case No. 6:11-cv-200-Orl-28GJK

  SOUTHWEST CREDIT SYSTEMS, LP,

                        Defendant.
  ______________________________________


                          ORDER OF DISMISSAL WITH PREJUDICE

         Upon consideration of the Notice of Voluntary Dismissal (Doc. No. 13), and

  pursuant to Fed. R. Civ. P. 41(a), it is hereby

         ORDERED that this case is dismissed with prejudice. All pending motions are

  DENIED as moot. The Clerk is directed to close this file.

         DONE and ORDERED in Chambers, Orlando, Florida this 24th day of May, 2011.




  Copies furnished to:

  Counsel of Record
  Unrepresented Party
